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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 GEM YIELD BAHAMAS LIMITED and GEM                               Case No. ____________
 GLOBAL YIELD LLC SCS,

        Petitioners,                                             [PROPOSED] ORDER AND
                                                                 JUDGMENT
                       vs.

 MULLEN TECHNOLOGIES, INC. and MULLEN
 AUTOMOTIVE, INC.,

        Respondents.



       Petitioners GEM Yield Bahamas Limited and GEM Global Yield LLC SCS

(“Petitioners”), having applied to this Court pursuant to the New York Convention on the

Recognition and Enforcement of Foreign Arbitral Awards, which is implemented by Chapter 2

of the Federal Arbitration Act, 9 U.S.C. § 201 et seq., for an Order (i) confirming an interim

measures nondomestic arbitration award under the Court’s primary jurisdiction issued on

January 24, 2024 (the “Interim Measures Order”) by the arbitrator in an arbitration proceeding

between Petitioners and Respondents Mullen Technologies, Inc. and Mullen Automotive, Inc.,

entitled GEM Yield Bahamas Limited and GEM Global Yield LLC SCS v. Mullen Technologies,

Inc. and Mullen Automotive, Inc., AAA Case No. 01-21-0016-7001; (ii) directing that judgment

be entered upon the Interim Measures Order, and (iii) granting such other and further relief as

the Court deems just and proper; and the Petitioners having duly come to be heard before this

Court; and upon this Court’s due consideration of the Application to Confirm and Enter

Judgment on Interim Measures Arbitration Award, dated February 13, 2024, the declaration of

Alexander L. Cheney and the exhibits attached thereto, and the accompanying Petitioners’
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Memorandum of Law in Support of Application to Confirm and Enter Judgment on Interim

Measures Arbitration Award, dated February 13, 2024, it is hereby:

       ORDERED that the Interim Measures Order is confirmed, and it is further

       ORDERED that an Order and Judgment is entered on the terms set forth in the Interim

Measures Order.




Dated: _____________, 2024
                                              SO ORDERED:

                                               _______________________________________
                                                     United States District Court Judge




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